Case 2:25-cv-05081-EP-AME                  Document 16        Filed 07/15/25      Page 1 of 1 PageID: 101




                                  CITY OF JERSEY CITY
                                      DEPARTMENT OF LAW
                               CITY HALL ● 280 GROVE STREET ● JERSEY CITY, NJ 07302
                                     PHONE (201) 547-5229 ● FAX (201) 547-5230
 STEVEN M. FULOP                                                                            BRITTANY M. MURRAY
 MAYOR OF JERSEY CITY                                                                   ACTING CORPORATION COUNSEL




                                                      July 14, 2025

 via ECF
 Honorable André M. Espinosa, U.S.M.J.
 Honorable Evelyn Padin, U.S.D.J.
 United States District Court for the District of New Jersey
                                                                               ORDER
 Martin Luther King, Jr. Federal Courthouse
 50 Walnut Street
 Newark, New Jersey 07101

            Re:         United States of America v. City of Newark, et al.
                        Civil Action No. 2:25-cv-5081

 Dear Judge Espinosa:

        The undersigned represents Defendants City of Jersey City, Jersey City City Council,
 Joyce E. Watterman and Steven Fulop (“Jersey City defendants”) in the above-captioned matter.
 Please accept this letter pursuant to Local Civ. R. 6.1(b).

         With the consent of counsel for the plaintiff, the Jersey City defendants hereby submit
 this application for extension of time to answer, move or otherwise reply for an additional sixty
 (60) days. No previous extensions have been granted and service of process was executed on
 June 24, 2025. A response is currently due July 15, 2025; therefore, the requested extension
 would reset the Jersey City defendants’ time to respond to September 13, 2025.

         We appreciate the consent of our adversary, and the Court’s time and consideration of
 this request.

 Respectfully submitted,
                                                      Service of process having been executed on
 BRITTANY M. MURRAY                                   June 23, 2025, and for good cause shown,
 ACTING CORPORATION COUNSEL                           the time for the Jersey City Defendants to
                                                      answer, move, or otherwise reply is extended
 By: /s/ Brittany M. Murray                           by 45 days, to August 28, 2025.

                                                      SO ORDERED. July 15, 2025

 cc:        All counsel of record via ECF              /s/ André M. Espinosa_______
                                                      ANDRÉ M. ESPINOSA
                                                      United States Magistrate Judge
